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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:18-CR-0024-GEB
12                                Plaintiff,            STIPULATION AND [PROPOSED] ORDER
                                                        TO CONTINUE STATUS CONFERENCE
13                          v.
                                                        Date:     April 12, 2019
14   DONTE ROBINS,                                      Time:     9:00 a.m.
     ISAIAH BURKS,                                      Judge:    Hon. Garland E. Burrell, Jr.
15   RAYSHAWN WRAY, and
     JOSHUA MARKANSON,
16
                                 Defendants.
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19          The United States of America, through its undersigned counsel, and defendants Donte Robins,

20 Isaiah Burks, Rayshawn Wray, and Joshua Markanson, through their counsel of record, stipulate that the
21 status conference currently set for April 12, 2019, be continued to June 14, 2019, at 9:00 a.m.

22          In March 2018, Mr. Robins and Mr. Markanson were arraigned on the nine-count Superseding

23 Indictment. (ECF Nos. 15, 21, 22.) Mr. Burks and Mr. Wray were arraigned separately, in May and

24 November 2018, respectively. (ECF Nos. 37, 64.) The government has produced discovery to defense

25 counsel that includes 139 pages of written materials and roughly 130 photos, as well as fifteen compact

26 disks containing dozens of audio and video files.
27          In the coming weeks, the government anticipates producing additional discovery to all defense

28 counsel, with documents potentially relevant to each defendant under Brady v. Maryland, 373 U.S. 83

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 1 (1963), and Giglio v. United States, 405 U.S. 150 (1972). Defense counsel will require time to review

 2 these new materials, as well as the materials already produced, time to conduct research and

 3 investigation about the charged offenses and potential defenses, and time to otherwise prepare for trial.

 4          Last, the parties are coordinating a time for defense counsel to inspect the physical evidence

 5 collected in this case.

 6          Based on the foregoing, defendants Robins, Burks, Wray, and Markanson (through counsel)

 7 stipulate that the status conference currently set for April 12, 2019, be continued to June 14, 2019, at

 8 9:00 a.m. The parties further agree that time under the Speedy Trial Act should be excluded from the

 9 date the parties stipulated, up to and including June 14, 2019, under 18 U.S.C. § 3161(h)(7)(A) and
10 (B)(iv) [reasonable time to prepare], and General Order 479 [Local Code T4], based on continuity of

11 counsel and defense preparation.

12          The parties agree that the failure to grant a continuance in this case would deny defense counsel

13 reasonable time necessary for effective preparation, taking into account the exercise of due diligence.

14 The parties also agree that the ends of justice served by the Court granting the requested continuance

15 outweigh the best interests of the public and the defendants in a speedy trial.

16                                                        Respectfully submitted,

17 Dated: April 11, 2019                                  _/s/ Timothy H. Delgado___________
                                                          TIMOTHY H. DELGADO
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                                                          Assistant United States Attorney
19                                                        Attorney for Plaintiff United States

20 Dated: April 11, 2019                                  _/s/ THD for Linda C. Allison_______
                                                          LINDA C. ALLISON
21                                                        Assistant Federal Defender
                                                          Attorney for Defendant Donte Robins
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23 Dated: April 11, 2019                                  _/s/ THD for Philip Cozens_________
                                                          PHILIP COZENS
24                                                        Attorney for Defendant Isaiah Burks

25 Dated: April 11, 2019                                  _/s/ THD for Todd D. Leras_________
                                                          TODD D. LERAS
26                                                        Attorney for Defendant Rayshawn Wray
27 Dated: April 11, 2019                                  _/s/ THD for Etan Zaitsu___________
                                                          ETAN ZAITSU
28                                                        Attorney for Defendant Joshua Markanson

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 1                                                     ORDER

 2          The Court, having received and considered the parties’ stipulation, and good cause appearing

 3 therefore, adopts the parties’ stipulation in its entirety as its order. The Court specifically finds that the

 4 failure to grant a continuance in this case would deny counsel reasonable time necessary for effective

 5 preparation, taking into account the exercise of due diligence. The Court also finds that the ends of

 6 justice served by granting the requested continuance outweigh the best interests of the public and the

 7 defendant in a speedy trial.

 8          The Court orders that the time from the date the parties stipulated, up to and including June 14,

 9 2019, shall be excluded from computation of time within which the trial in this case must begin under
10 the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare], and General

11 Order 479 [Local Code T4]. It is further ordered that the April 12, 2019 status conference be continued

12 until June 14, 2019, at 9:00 a.m.

13
     Dated: April 11, 2019
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      STIPULATION AND [PROPOSED] ORDER TO                  3
30    CONTINUE STATUS CONFERENCE
